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                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                                           February 24, 2025
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                            Nathan Ochsner, Clerk
                                  HOUSTON DIVISION


In re:                                                                Chapter 11

WELLPATH HOLDINGS, INC., et al.,1                                     Case No. 24-90533 (ARP)

                                       Debtors.                       (Jointly Administered)


                  STIPULATION AND AGREED ORDER BETWEEN
           THE DEBTORS, THE STATUTORY UNSECURED CLAIMHOLDERS’
           COMMITTEE, THE PREPETITION AGENTS, AND THE REQUISITE
           PREPETITION LENDERS EXTENDING THE CHALLENGE PERIOD

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”),

the Statutory Unsecured Claimholders’ Committee (the “Committee”), the undersigned

Prepetition Agents,2 and the requisite Prepetition Lenders (the requisite Prepetition Lenders,

together with the Debtors, the Committee, and the undersigned Prepetition Agents, collectively,

the “Parties”), hereby enter into this stipulation and agreed order (this “Stipulation”) and stipulate

and agree as follows:

                                                  RECITALS

         1.      On November 11, 2024 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under chapter 11 of the Bankruptcy Code.




1
    A complete list of the debtors in these chapter 11 cases may be obtained on the website of the debtors’ claims and
    noticing agent at https://dm.epiq11.com/Wellpath. The debtors’ service address for these chapter 11 cases is
    3340 Perimeter Hill Drive, Nashville, Tennessee 37211.
2
    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Final
    Order (I) Authorizing the Debtors to (A) Obtain Postpetition Financing, and (B) Use Cash Collateral;
    (II) Granting Liens and Providing Superpriority Administrative Expense Claims; (III) Granting Adequate
    Protection to the Prepetition Secured Parties; (IV) Modifying the Automatic Stay; and (V) Granting Related Relief
    [Docket No. 388] (the “Final DIP Order”).
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       2.      The Debtors are operating their businesses and managing their properties as debtors

in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

       3.      On November 25, 2024, the Office of the United States Trustee for the Southern

District of Texas (the “U.S. Trustee”) appointed the Committee pursuant to section 1102 of the

Bankruptcy Code. See Notice of Appointment of Committee of Unsecured Creditors [Docket

No. 169].

       4.      On December 11, 2024, the Court entered the Final DIP Order. Subject to the

limitations set forth in the Final DIP Order, including in paragraph 26 of the Final DIP Order, the

Debtors represented, admitted, stipulated and agreed to the amount of the Prepetition Secured

Obligations and to the validity, perfection and enforceability of the Prepetition Liens and the scope

of the Prepetition Collateral and waived, discharged and released any right of the Debtors to

challenge any of the Prepetition Secured Obligations, the priority of the applicable Debtors’

obligations thereunder, and the validity, extent and priority of the Prepetition Liens securing the

Prepetition Secured Obligations.

       5.      Pursuant to paragraph 26 of the Final DIP Order, the stipulations, admissions,

waivers and releases referenced above and contained in paragraph E of the Final DIP Order are

deemed binding upon the Debtors (including their representatives) and any successors and assigns

thereto, including any official committee of unsecured creditors, or any chapter 7 or chapter 11

trustee appointed or elected for any of the Debtors, unless such party with requisite standing

granted by an order of this Court (or such other court of competent jurisdiction), has duly filed a

Challenge against the Prepetition Secured Parties or any such parties’ respective affiliates or

representatives in connection with any matter related to the Prepetition Credit Documents, the




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Prepetition Collateral, the Prepetition Liens or the Prepetition Secured Obligations by the end of

the Challenge Period.

          6.     Prior to expiration of the Challenge Period in a letter dated February 16, 2025 (the

“February 16 Letter”), the Committee raised with the Debtors and the Ad Hoc Lender Group

certain issues concerning the validity, scope, perfection and enforceability of certain of the

Prepetition Liens and the Prepetition Secured Obligations, and the Debtors and the Prepetition

Agents (acting at the direction of the requisite Prepetition Lenders) subsequently agreed to extend

the Challenge Period solely for the benefit of the Committee to allow the parties additional time

to consensually resolve such issues.3

          7.     Paragraph 26 of the Final DIP Order established February 24, 2025 as the deadline

for the Committee to timely file an adversary proceeding or contested matter asserting a Challenge

in accordance with the Final DIP Order.

          8.     Pursuant to Paragraph 26(a) of the Final DIP Order, the Challenge Period may be

extended if agreed to in writing by each of the Debtors and Prepetition Agents, acting at the

direction of the requisite Prepetition Lenders.

          9.     The Debtors and the Prepetition Agents, at the direction of the requisite Prepetition

Lenders, hereby agree to extend the Challenge Period with respect to the Committee, solely with

respect to the matters previously identified by counsel to the Committee, on the terms set forth

herein.


3
    The Committee reserves its rights to argue that the challenges and causes of action raised in the February 16 Letter
    are not subject to the Challenge Period, including because they do not require use of the Debtors’ avoidance
    powers under chapter 5 of the Bankruptcy Code, the Committee has standing to bring such challenge without
    obtaining derivative standing, and they could be brought by the Committee at any time as a claim objection. The
    Debtors, the Prepetition Agents and the Prepetition Lenders reserve their rights to argue to the contrary. Further,
    the Debtors’, the Prepetition Agents’ and the Prepetition Lenders’ rights to argue that the Challenge Period has
    expired with respect to any issues not raised in the February 16 Letter and that the Committee has waived all
    rights to assert any Challenge not expressly contemplated in the February 16 Letter are hereby preserved.


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       IT IS HEREBY STIPULATED AND AGREED BETWEEN THE PARTIES, AND

UPON APPROVAL BY THE COURT OF THIS STIPULATION, THE FOLLOWING IS

SO ORDERED:

       1.      This Stipulation is effective and enforceable against each of the Parties immediately

upon execution.

       2.      The foregoing recitals are hereby incorporated by reference into this Stipulation.

       3.      The Challenge Period, solely with respect to the Committee is hereby extended

from February 24, 2025, to and including March 31, 2025.

       4.      Notwithstanding anything to the contrary contained in the Final DIP Order, the

Debtors’ right to use Cash Collateral is unaltered by this Stipulation.

       5.      Except as expressly set forth in this Stipulation, nothing herein shall (or shall be

deemed to) modify, amend or derogate from the Final DIP Order and all Parties’ respective rights,

remedies, and limitations thereunder shall remain unaffected.

       6.      Except as explicitly provided for herein, this Stipulation does not create any rights

for the benefit of any third party, creditor, equity holder, or any direct, indirect, third party or

incidental beneficiary.

       7.      This Stipulation may be executed and delivered (including by facsimile or portable

document format transmission) in one or more counterparts, and by the different Parties hereto in

separate counterparts, each of which when executed shall be deemed to be an original, but all of

which taken together will constitute one and the same agreement.

       8.      The undersigned hereby represent and warrant that they have full authority to

execute this Stipulation on behalf of the respective Parties and that the respective Parties have full

knowledge of and have consented to this Stipulation.



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       9.      Any Bankruptcy Rule or Bankruptcy Local Rule that might otherwise delay the

effectiveness of this Order is hereby waived, and the terms and conditions of this Order shall be

effective and enforceable immediately upon its entry.

       10.     The Debtors are authorized to take any action necessary or appropriate to

implement and effectuate the terms of, and the relief granted in, this Order without seeking further

order of this Court.

       11.     This Court retains exclusive jurisdiction over any matter arising from or related to

the implementation, interpretation, and enforcement of this Order.

Houston, Texas
Signed: February 24, 2025
Dated: ____________,   2025

                                                  ALFREDO  R. PÉREZ
                                                       _____________________________
                                                  UNITED STATED    BANKRUPTCY JUDGE
                                                       Alfredo R Pérez
                                                       United States Bankruptcy Judge




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STIPULATED AND AGREED TO BY:


                                     MCDERMOTT WILL & EMERY LLP, on behalf of
                                     the Debtors
Dated: February 24, 2025
Dallas, Texas                        /s/ Marcus A. Helt
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                                     Counsel to the Debtors and Debtors in Possession




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                            STINSON LLP, on behalf of the Committee

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                            Counsel to the Committee


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                            Cahill Gordon & Reindel LLP, on behalf of the
                            Prepetition Agents

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                            Akin Gump Strauss Hauer & Feld, LLP, on behalf
                            of the Requisite Prepetition Lenders

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                                      Certificate of Service

        I certify that, on February 24, 2025 I caused a copy of the foregoing document to be served
via the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                             /s/ Marcus A. Helt
                                             Marcus A. Helt




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